Case 17-42571-rfn11 Doc 36 Filed 07/06/17                      Entered 07/06/17 16:58:18            Page 1 of 28



Vickie L. Driver
Texas Bar No. 24026886
Christina W. Stephenson
Texas Bar No. 24049535
HUSCH BLACKWELL LLP
2001 Ross Avenue, Suite 2000
Dallas, Texas 75201
Phone: (214) 999-6100
Fax: (214) 999-6170
Email: vickie.driver@huschblackwell.com
Email: crissie.stephenson@huschblackwell.com

PROPOSED COUNSEL FOR THE DEBTORS

                              UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                    FORT WORTH DIVISION


                                                                         §
           IN RE:                                                        §       CHAPTER 11
                                                                         §
           FOUNDATION HEALTHCARE, INC.,                                  §
           et al.,                                                       §       CASE NO. 17-42571
                                                                         §
                             DEBTORS.1                                   §       Complex Case
                                                                         §       Jointly Administered
           -----------------------------------------------------------

                      NOTES REGARDING SCHEDULES OF ASSETS AND
                   LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

       On June 21, 2017 (the “Petition Date”), Foundation HealthCare, Inc., and University
General Hospital, LLC each filed voluntary petitions for relief under chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the
Northern District of Texas, Fort Worth Division (the “Bankruptcy Court”). The Debtors have
requested, and the Bankruptcy Court has so ordered, that their cases be jointly administered
under Case No. 17-42571.

            With the assistance of its Bankruptcy Court approved advisors, the Debtors prepared
    the annexed Schedules of Assets and Liabilities (the “Schedules”), the Statement of Financial
    Affairs (the “SOFAs” and together with the Schedules, the “Schedules and SOFAs”), and the
    Lists of Equity Security Holders (the “Lists”) pursuant to Section 521 of the Bankruptcy Code
    and Rule 1007 of the Federal Rules of Bankruptcy Procedure. The Schedules and SOFAs and
    Lists are unaudited and do not purport to represent financial statements prepared in accordance
    with Generally Accepted Accounting Principles in the United States (“GAAP”), and they are
    not intended to be fully reconciled to the financial statements.

1
    The Debtors in these Chapter 11 cases are Foundation Healthcare, Inc. and University General Hospital, LLC.


                                                           1
Case 17-42571-rfn11 Doc 36 Filed 07/06/17             Entered 07/06/17 16:58:18        Page 2 of 28



Although the Debtors’ advisors and remaining officers, directors and contract employees have
made every reasonable effort to ensure that the Schedules and SOFAs and Lists are accurate
and complete based on information that was available to them at the time of preparation,
subsequent information or discovery may result in material changes to these Schedules and
SOFAs and Lists, and inadvertent errors or omissions may have occurred. Subsequent receipt of
information or an audit may result in material changes in financial data requiring amendment of
the Schedules and SOFAs and Lists. These notes regarding each of the Debtor’s Schedules and
SOFAs and Lists (the “Notes”) comprise an integral part of such Debtor’s Schedules and
SOFAs and Lists and should be referenced in connection with any review of the Schedules and
SOFAs and Lists. Nothing contained in the Schedules and SOFAs or Lists shall constitute a
waiver of any rights or claims of the Debtors against any third party, or in or with respect to any
aspect of these chapter 11 cases.

       1.      Amendments. The Debtors reserve the right to amend or supplement the
 Schedules and SOFAs and Lists as necessary or appropriate.

         2.     Asset Presentation. Most assets and liabilities of the Debtors are shown on the
 basis of the book value in the respective Debtor’s books and records, as of December 31,
 2016, and not on the basis of current market values of such interest in property or liabilities;
 provided, however, that some adjustments have been made when the information was
 available subsequent thereto. In certain instances, where book value is known to be materially
 inaccurate, the Debtors listed some assets and liabilities as having an “unknown” value. The
 Debtors reserve their right to amend or adjust the value of each asset or liability set forth
 herein.

         3.      Liabilities. The Debtors sought to allocate liabilities between the prepetition
 and postpetition periods based on the information and research that was conducted in
 connection with the preparation of the Schedules and SOFAs. As additional information
 becomes available and further research is conducted, the allocation of liabilities between
 prepetition and postpetition periods may change. The Debtors also reserve the right to change
 the allocation of liability to the extent additional information becomes available.

         4.      Causes of Action. Despite reasonable efforts, the Debtors may not have
 identified or set forth all of its causes of action against third parties as assets in its Schedules
 and SOFAs. The Debtors reserve any and all of their rights with respect to any causes of
 action they each may have, and neither these Notes nor the Schedules and SOFAs shall be
 deemed a waiver of any such causes of action.

         5.      Claim Description. Any failure to designate a claim on the Schedules or
 SOFAs as “disputed,” “contingent” or “unliquidated” does not constitute an admission by the
 respective Debtor that such claim is not “disputed,” “contingent” or “unliquidated.” The
 Debtors reserve the right to dispute, or to assert offsets or defenses to, any claim reflected on
 its Schedules and SOFAs as to amount, liability, priority, secured or unsecured status, or
 classification, or to otherwise designate any claim as “disputed,” “contingent” or
 “unliquidated” by filing and serving an appropriate amendment. The Debtors also reserve the
 right to amend their Schedules or SOFAs as necessary or appropriate.



                                                  2
Case 17-42571-rfn11 Doc 36 Filed 07/06/17             Entered 07/06/17 16:58:18        Page 3 of 28



       6.       Property and Equipment. The Debtors have not completed a physical inventory
of any of their owned equipment, merchandise or other physical assets and any information set
forth in the Schedules and SOFAs may be over or understated. Further, nothing in the
Schedules or SOFAs (including, without limitation, the failure to list leased property or
equipment as owned property or equipment) is or shall be construed as an admission as to the
determination of legal status of any lease (including whether any lease is a true lease or
financing arrangement), and the Debtors reserve all of their rights with respect to such issues.
Notwithstanding the foregoing, an inventory of supplies for UGH was conducted in December
2016.

         7.     Insurance. The Debtors have, in the past, maintained a variety of insurance
 policies including property, general liability, and workers’ compensation policies and other
 employee- related policies. The Debtors’ interest in these types of policies is limited to the
 amount of the premiums that the Debtors have prepaid, if any, as of Petition Date. To the best
 of each Debtor’s knowledge, no such prepayments exist. The Debtors do reserve all rights to
 refunds of any overpayments of premiums paid on any insurance policies.

        8.        Insiders. In the circumstances where the Bankruptcy Schedules require
information regarding insiders or officers and directors, included herein are the relevant Debtor’s
(a) directors (or persons in similar positions) and (b) officers. The listing of a party as an insider
is not intended to be nor should it be construed as a legal characterization of such party as an
insider and does not act as an admission of any fact, claim, right or defense and all such rights,
claims and defenses are hereby expressly reserved. Further, employees have been included in
this disclosure for informational purposes only and should not be deemed to be “insiders” in
terms of control of the Debtors, management responsibilities or functions, decision-making or
corporate authority or as otherwise defined by applicable law, including, without limitation, the
federal securities laws, or with respect to any theories of liability or for any other purpose.

         9.     Schedule A/B—Real and Personal Property. As of the Petition Date, certain
 equipment and property was foreclosed upon, repossessed, or picked up by various parties.
 While the Debtors have attempted to identify each such situation, that analysis is made
 complicated by the fact that the UGH Debtor is no longer in possession of that leased
 premises. To the extent any Debtor learns of a piece of property that has been subject to a
 repossession or foreclosure impacting the listing in this schedule, such Debtor reserves the
 right to amend such Schedule and SOFA reflecting same.

         10.      Schedule D—Creditors Holding Secured Claims. Except as specifically stated
 herein, real property lessors, utility companies and other parties which may hold security
 deposits have not been listed on Schedule D. The Debtors have not included on Schedule D
 all parties that may believe their claims are secured through setoff rights, deposits posted by,
 or on behalf of, the Debtors, or inchoate statutory lien rights. While reasonable efforts have
 been made, determination of the date upon which each claim in Schedule D was incurred or
 arose would be unduly and cost prohibitive, and therefore, the Debtors may not list a date for
 each claim listed on Schedule D.

        11.   Schedule E—Creditors Holding Unsecured Priority Claims. The listing of any
 claim on Schedule E does not constitute an admission by such Debtor that such claim is


                                                  3
Case 17-42571-rfn11 Doc 36 Filed 07/06/17            Entered 07/06/17 16:58:18       Page 4 of 28



  entitled to priority under section 507 of the Bankruptcy Code. The Debtors reserve the right to
  dispute the priority status of any claim on any basis. While reasonable efforts have been
  made, determination of the date upon which each claim in Schedule E was incurred or arose
  would be unduly burdensome and cost prohibitive, and therefore, the Debtor may not list a
  date for each claim listed on Schedule E. Additionally, the Debtors have not included
  employee-related priority claims that existed as of the Petition Date to the extent that such
  claims have been or are approved for payment pursuant to orders entered by the Bankruptcy
  Court.
         12.     Schedule F—Creditors Holding Unsecured Nonpriority Claims. The liabilities
identified in Schedule F are derived from the respective Debtor’s books and records, which may
or may not, in fact, be completely accurate, but they do represent a reasonable attempt by each
Debtor to set forth its unsecured obligations. Accordingly, the actual amount of claims against
each Debtor may vary from the represented liabilities. Parties in interest should not accept that
the listed liabilities necessarily reflect the correct amount of any unsecured creditor’s allowed
claims or the correct amount of all unsecured claims. Similarly, parties in interest should not
anticipate that recoveries in these cases will reflect the relationship of aggregate asset values
and aggregate liabilities set forth in the Schedules and SOFAs. Parties in interest should consult
their own professionals or advisors with respect to pursuing a claim. Although the Debtors and
their professionals have generated financials the Debtors believe to be reasonable, actual
liabilities (and assets) may deviate from the Schedules and SOFAs due to certain events that
may occur throughout the duration of these chapter 11 cases.

        The claims listed on Schedule F arose or were incurred on various dates. In certain
instances, the date on which a claim arose may be unknown or subject to dispute. Although
reasonable efforts have been made to determine the date upon which claims listed in Schedule F
was incurred or arose, fixing that date for each claim in Schedule F would be unduly
burdensome and cost prohibitive and, therefore, the Debtors may not have listed a date for each
claim listed on Schedule F.


        13.     Schedule G—Executory Contracts. While effort has been made to ensure the
accuracy of Schedule G, inadvertent errors or omissions may have occurred. Listing a contract
or agreement on Schedule G does not constitute an admission that such contract or agreement is
an executory contract or unexpired lease or that such contract or agreement was in effect on the
Petition Date or is valid or enforceable. The Debtors hereby reserve all of their rights to dispute
the validity, status, or enforceability of any contracts, agreements, or leases set forth in
Schedule G and to amend or supplement such Schedule as necessary. Certain of the leases and
contracts listed on Schedule G may contain certain renewal options, guarantees of payment,
options to purchase, rights of first refusal and other miscellaneous rights. Such rights, powers,
duties and obligations are not set forth separately on Schedule G. In addition, the Debtors may
have entered into various other types of agreements in the ordinary course of its business, such
as easements, right of way, subordination, nondisturbance agreements, supplemental
agreements, amendments/letter agreements, title agreements and confidentiality agreements.
Such documents are also not set forth in Schedule G.




                                                 4
Case 17-42571-rfn11 Doc 36 Filed 07/06/17           Entered 07/06/17 16:58:18       Page 5 of 28



        The Debtors reserve all rights to dispute or challenge the characterization of the
structure of any transaction or any document or instrument related to a creditor’s claim. The
Debtors may be party to certain agreements that have expired by their terms, but all parties
continue to operate under the agreement. Out of an abundance of caution, the Debtors have
listed such agreements on Schedule G. The Debtor’s inclusion of such contracts or agreements
on Schedule G is not an admission that such contract or agreement is an executory contract or
unexpired lease.

        Omission of a contract or agreement from Schedule G does not constitute an admission
that such omitted contract or agreement is not an executory contract or unexpired lease. The
Debtors’ rights under the Bankruptcy Code with respect to any such omitted contracts or
agreements are not impaired by the omission.

        In some cases, the same supplier or provider may appear multiple times in the
Schedules. Multiple listings, if any, reflect distinct agreements between such Debtor and such
supplier or provider. The listing of any contract on Schedule G does not constitute an admission
by the Debtor as to the validity of any such contract. The Debtors reserve the right to dispute
the effectiveness of any such contract listed on Schedule G or to amend Schedule G at any time
to remove any contract.

         14.    Schedule H – Codebtors. It is possible that some of the Debtors affiliates,
including one another in some instances, may be viewed by a particular creditor as being co-
obligors on such debt. However, none of those affiliates are viewed by the Debtors as having
any ability to pay those debts and many are owned in whole or in part by one of the Debtors,
FHI. Finally, it would be unduly burdensome and of relatively little to no value to the Debtors’
estates to attempt to delineate those co-obligors for each debt. Consequently, the Debtors have
not listed those as co-debtors on Schedule H.

        15.    Statement of Financial Affairs 19(d) – Financial Statements. The Debtors have
each undertaken reasonable efforts to identify all financial institutions, creditors and other
parties to whom a financial statement was issued within two years immediately preceding the
Petition Date. The Debtors reserve their rights to subsequently supplement or amend Statement
19d upon discovery of additional information.

       16.     Statement of Financial Affairs 4 and 30 – Payments within One Year to Insider.
The information available at the time of filing has been included; however, information
regarding stock options, redemptions, and potential loan reductions were unavailable and have
not been included.

       17.    Lists of Equity Security Holders. The Debtors have exercised due diligence to
provide the most accurate listings of Equity Security Holders available to them at this time. The
Debtors reserve the right to amend or supplement the Lists.

        18.    Specific Notes. These General Notes are in addition to the specific notes set
forth in the individual Schedules and SOFAs and Lists. Disclosure of information in one
Schedule, SOFA, exhibit, List, or continuation sheet even if incorrectly placed, shall be deemed
to be disclosed in the correct Schedule, SOFA, exhibit, List, or continuation sheet.


                                                5
Case 17-42571-rfn11 Doc 36 Filed 07/06/17         Entered 07/06/17 16:58:18      Page 6 of 28




        19.   Totals. All totals that are included in the Schedules represent totals of the
liquidated amounts for the individual schedule for which they are listed.

       20.    Unliquidated Claim Amounts. Claim amounts that could not be fairly quantified
by the Debtors are scheduled as “unliquidated” or “unknown.”

        21.     General Reservation of Rights. The Debtors specifically reserve the right to
amend, modify, supply, correct, change or alter any part of their Schedules and SOFAs or Lists
as and to the extent necessary as they each deem appropriate.




                                              6
            Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                 Entered 07/06/17 16:58:18                   Page 7 of 28
 Fill in this information to identify the case:

 Debtor name         Foundation Healthcare, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         17-42571-mxm11
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest
 2.         Cash on hand                                                                                                                                 $886.00



 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number


            3.1.   Valliance Bank                                           Insurance Funding                7972                                  $52,125.55




            3.2.   Texas Capital Bank                                       Operating                        3512                                        $847.00




            3.3.   Texas Capital Bank                                       Accounts Payable                 4114                                  $35,000.00




            3.4.   Bank SNB                                                 FBO                              7930                                  $23,528.30



 4.         Other cash equivalents (Identify all)


            4.1.   Gift Cards                                                                                                                        $1,091.04




 5.         Total of Part 1.                                                                                                                  $113,477.89
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
            Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                 Entered 07/06/17 16:58:18             Page 8 of 28

 Debtor            Foundation Healthcare, Inc.                                                 Case number (If known) 17-42571-mxm11
                   Name



 Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.
 7.         Deposits, including security deposits and utility deposits
            Description, including name of holder of deposit
                     Retainer
            7.1.     Ankura Consulting - Financial Advisors/Turnaround & Restructuring                                                    $51,087.19



                     Retainer
            7.2.     Spectrum Health Partners - Interim CFO                                                                               $24,000.00



                     Retainer
            7.3.     Donlin Recano - Noticing Agent                                                                                       $30,000.00



                     Retainer
            7.4.     Law Office of William Canon                                                                                            $1,000.00



                     Retainer
            7.5.     Suzy Hensley - Contract Labor, Legal Assistant                                                                           $950.00



                     Retainer
            7.6.     Robin Taylor - Contract Labor, Treasury Manager                                                                        $1,150.00



                     Retainer
            7.7.     Eide Baily - Tax Returns                                                                                             $50,000.00



 8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
            Description, including name of holder of prepayment


            8.1.     Rent - North Portland Holdings                                                                                       $15,866.00




 9.         Total of Part 2.                                                                                                      $174,053.19
            Add lines 7 through 8. Copy the total to line 81.

 Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.
 11.        Accounts receivable
            11a. 90 days old or less:                           170,155.00   -                                0.00 = ....                $170,155.00
                                              face amount                        doubtful or uncollectible accounts


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
            Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                 Entered 07/06/17 16:58:18              Page 9 of 28

 Debtor         Foundation Healthcare, Inc.                                                   Case number (If known) 17-42571-mxm11
                Name




 12.        Total of Part 3.                                                                                                        $170,155.00
            Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No.    Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No.    Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No.    Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
     Yes Fill in the information below.

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No. Go to Part 11.
     Yes Fill in the information below.
            General description                                               Net book value of      Valuation method used     Current value of
                                                                              debtor's interest      for current value         debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 3
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
            Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                Entered 07/06/17 16:58:18         Page 10 of 28

 Debtor         Foundation Healthcare, Inc.                                                  Case number (If known) 17-42571-mxm11
                Name

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            Management Fee Buyout                                                    $236,085.77     Book                             $236,085.77



 65.        Goodwill

 66.        Total of Part 10.                                                                                                     $236,085.77
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
             No
             Yes
 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
             No
             Yes
 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
             No
             Yes
 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No. Go to Part 12.
     Yes Fill in the information below.
                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

            Anticipated tax return                                                             Tax year 2016                      $1,700,000.00



 73.        Interests in insurance policies or annuities

            Argonaut Insurance Company - Tail on D&O                                                                                      Unknown



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

            Summit Management Contract                                                                                                 $336,000.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 4
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                  Entered 07/06/17 16:58:18         Page 11 of 28

 Debtor         Foundation Healthcare, Inc.                                                  Case number (If known) 17-42571-mxm11
                Name




           TSH Acquisition, LLC                                                                                                                 $0.00



           ApothecaryRx, LLC                                                                                                                    $0.00



           Ninety Nine Healthcare Management, LLC                                                                                               $0.00



           SDC Holdings, LLC                                                                                                                    $0.00



           Foundation Health Enterprises, LLC                                                                                                   $0.00



           Surveillance, The Motion Picture, LLC                                                                                                $0.00



           The Hunt, The Motion Picture, LLC                                                                                                    $0.00



           Fingerprint Productions, LLC                                                                                                         $0.00



           Soul's Midnight, LLC                                                                                                                 $0.00




 78.       Total of Part 11.                                                                                                   $2,036,000.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                   Best Case Bankruptcy
            Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                                   Entered 07/06/17 16:58:18                      Page 12 of 28

 Debtor          Foundation Healthcare, Inc.                                                                         Case number (If known) 17-42571-mxm11
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $113,477.89

 81. Deposits and prepayments. Copy line 9, Part 2.                                                               $174,053.19

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $170,155.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $236,085.77

 90. All other assets. Copy line 78, Part 11.                                                    +              $2,036,000.00

 91. Total. Add lines 80 through 90 for each column                                                         $2,729,771.85            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,729,771.85




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
           Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                          Entered 07/06/17 16:58:18                Page 13 of 28
 Fill in this information to identify the case:

 Debtor name          Foundation Healthcare, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)              17-42571-mxm11
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Texas Capital Bank                            Describe debtor's property that is subject to a lien              $5,700,000.00                         $0.00
        Creditor's Name                               Loans
        2000 McKinney Avenue,
        Suite 700
        Dallas, TX 75201
        Creditor's mailing address                    Describe the lien
                                                      Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        12/31/2016                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                         $5,700,000.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                   0

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                              you enter the related creditor?    account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
           Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                              Entered 07/06/17 16:58:18               Page 14 of 28
 Fill in this information to identify the case:

 Debtor name         Foundation Healthcare, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)          17-42571-mxm11
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1                                                                                                                                                      $1,100,000.
           Priority creditor's name and mailing address              As of the petition filing date, the claim is:                  $1,100,000.00         00
           Internal Revenue Service                                  Check all that apply.
           PO Box 7346                                                Contingent
           Philadelphia, PA 19101-7346                                Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           Unknown                                                   Past-due Income Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $15,740.00         $15,740.00
           Iowa Department of Revenue                                Check all that apply.
           PO Box 10471                                               Contingent
           Des Moines, IA 10471                                       Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           2-Jun-17                                                  Taxes
           Last 4 digits of account number 2745                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 11
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                   31966                               Best Case Bankruptcy
           Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                              Entered 07/06/17 16:58:18                              Page 15 of 28
 Debtor       Foundation Healthcare, Inc.                                                                     Case number (if known)          17-42571-mxm11
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $967.90    $967.90
           Missouri Dept. of Revenue                                 Check all that apply.
           P O Box 3365                                               Contingent
           Jefferson City, MO 65105-3365                              Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           Unknown                                                   Franchise Tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $33,031.26      $33,031.26
           PA Dept of Revenue                                        Check all that apply.
           333 Walnut St                                              Contingent
           Harrisburg, PA 17128-0908                                  Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           Unknown                                                   Franchise Tax
           Last 4 digits of account number 6669                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $3,964.74
           Addison Group                                                            Contingent
           125 S Wacker Drive                                                       Unliquidated
           Suite 2700                                                               Disputed
           Chicago, IL 60606
                                                                                   Basis for the claim:     Trade debt
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $30,641.83
           Allscripts Healthcare, LLC                                               Contingent
           8529 Six Forks Road                                                      Unliquidated
           Forum IV                                                                 Disputed
           Raleigh, NC 27615
                                                                                   Basis for the claim:     Trade debt
           Date(s) debt was incurred
           Last 4 digits of account number                                         Is the claim subject to offset?    No  Yes
 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $4,938.47
           AMERICAN OPTI-NET INC                                                    Contingent
           315 NW 94th Street                                                       Unliquidated
           Oklahoma City, OK 73114                                                  Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Trade debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 11
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                        Entered 07/06/17 16:58:18                               Page 16 of 28
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,502.89
          AT&T 405 936 8200                                                   Contingent
          P O Box 5001                                                        Unliquidated
          Carol Stream, IL 60197-5001                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Telephone services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,755.06
          AT&T Long Distance 811314531                                        Contingent
          P O Box 5017                                                        Unliquidated
          Carol Stream, IL 60197-5017                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Telephone services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $150.00
          Bonded Services Inc.                                                Contingent
          3205 Burton Avenue                                                  Unliquidated
          Burbank, CA 91504                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $238.34
          Broadridge ICS                                                      Contingent
          P O Box 416423                                                      Unliquidated
          Boston, MA 02241                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $40,000.00
          Brooks G. O'Neil                                                    Contingent
          8 Bridge Lane                                                       Unliquidated
          Edina, MN 55424                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $9,086.17
          Buchanan Ingersoll & Rooney PC                                      Contingent
          409 N Second Street                                                 Unliquidated
          Suite 500                                                           Disputed
          Harrisburg, PA 17101-1357
                                                                             Basis for the claim:    Legal services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,852.57
          BUCHANAN TECHNOLOGIES, INC                                          Contingent
          P O Box 95274                                                       Unliquidated
          Grapevine, TX 76099-9752                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 3 of 11
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                        Entered 07/06/17 16:58:18                               Page 17 of 28
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $6,635.00
          CCH Incorporated                                                    Contingent
          P O Box 4307                                                        Unliquidated
          Carol Stream, IL 60197-4307                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $19,462.08
          CDW                                                                 Contingent
          75 Remittance Drive                                                 Unliquidated
          Suite 1515                                                          Disputed
          Chicago, IL 60675-1515
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $146.50
          Christensen Law Group, PLLC                                         Contingent
          3401 NW 63rd Street                                                 Unliquidated
          Suite 600                                                           Disputed
          Oklahoma City, OK 73116
                                                                             Basis for the claim:    Legal services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,284.24
          Computershare, Inc                                                  Contingent
          Dept CH 19228                                                       Unliquidated
          Palatine, IL 60055-9228                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $907.80
          Corporation Service Company                                         Contingent
          2711 Centerville Rd                                                 Unliquidated
          Wilmington, DE 19808                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $19,965.00
          DONNELLEY FINANCIAL, LLC                                            Contingent
          P O Box 842282                                                      Unliquidated
          Boston, MA 02284-2282                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $25,568.27
          Eide Bailey                                                         Contingent
          1601 NW Expressway                                                  Unliquidated
          Suite 1900                                                          Disputed
          Oklahoma City, OK 73118
                                                                             Basis for the claim:    Accounting Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 11
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                        Entered 07/06/17 16:58:18                               Page 18 of 28
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $146.27
          Eureka Water Company                                                Contingent
          P O Box 26730                                                       Unliquidated
          Oklahoma City, OK 73126                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $135.90
          FEDEX                                                               Contingent
          P O Box 660481                                                      Unliquidated
          Dallas, TX 75266-0481                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $361.43
          First Choice Coffee Services                                        Contingent
          3501 S Moulton Drive                                                Unliquidated
          Oklahoma City, OK 73179                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $520.00
          FORD AUDIO-VIDEO SYSTEMS, LLC                                       Contingent
          4800 West I-40 Service Rd                                           Unliquidated
          Oklahoma City, OK 73128                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $126.80
          FP Mailing Solutions                                                Contingent
          140 N Mitchell Ct                                                   Unliquidated
          Suite 200                                                           Disputed
          Addison, IL 60101-5629
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,471.82
          GE Capital                                                          Contingent
          P O Box 105710                                                      Unliquidated
          Atlanta, GA 30348-5710                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $102,060.09
          Goodwin Procter LLP                                                 Contingent
          100 Northern Avenue                                                 Unliquidated
          Boston, MA 02210                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 5 of 11
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                        Entered 07/06/17 16:58:18                               Page 19 of 28
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $139,313.94
          Greenberg Traurig, LLP                                              Contingent
          One International Place                                             Unliquidated
          Boston, MA 02110                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Legal services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $67,725.00
          Hein & Associates                                                   Contingent
          1999 Broadway                                                       Unliquidated
          Ste 4000                                                            Disputed
          Denver, CO 80202
                                                                             Basis for the claim:    Accounting Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $1,239,792.30
          Hewlett-Packard Financial Services Co                               Contingent
          200 Connell Drive, Suite 5000                                       Unliquidated
          Berkeley Heights, NJ 07922                                          Disputed
          Date(s) debt was incurred 10/24/2016
                                                                             Basis for the claim:    Promissory Note
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $1,873.26
          IBM Credit LLC                                                      Contingent
          3039 E Cornwallis Rd                                                Unliquidated
          RSRCH TRI PK, NC 27709                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $4,762.50
          Interworks                                                          Contingent
          1425 S Sangre Rd                                                    Unliquidated
          Stillwater, OK 74074                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $346.81
          Iron Mountain                                                       Contingent
          1000 Campus Drive                                                   Unliquidated
          Collegeville, PA 19426                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $19,118.15
          Lexmark Enterprise Software USA Inc                                 Contingent
          8900 Renner Blvd                                                    Unliquidated
          Lenexa, KS 66219-3049                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 6 of 11
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                        Entered 07/06/17 16:58:18                               Page 20 of 28
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $20,000.00
          ManagementWorks, LLC                                                Contingent
          9960 NW 35th Street                                                 Unliquidated
          Cooper City, FL 33024                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $35,019.17
          McAfee & Taft                                                       Contingent
          211 North Robinson                                                  Unliquidated
          Suite 1000                                                          Disputed
          Oklahoma City, OK 73102-7103
                                                                             Basis for the claim:    Legal services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,580.96
          Midcon Data Services LLC                                            Contingent
          13431 North Broadway Ext                                            Unliquidated
          Suite 115                                                           Disputed
          Oklahoma City, OK 73114
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $12,611.23
          Nasdaq Corporate Solutions, LLC                                     Contingent
          401 Market Street                                                   Unliquidated
          Philadelphia, PA 19106                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,500.00
          Oklahoma Bioscience Association                                     Contingent
          840 Research Parkway                                                Unliquidated
          Suite 250                                                           Disputed
          Oklahoma City, OK 73104
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $580.00
          Paintworks LLC                                                      Contingent
          3801 91 Ave NE                                                      Unliquidated
          Norman, OK 73026                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $15,550.00
          Petra Consulting Group                                              Contingent
          9041 Larston                                                        Unliquidated
          Houston, TX 77055                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 7 of 11
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                        Entered 07/06/17 16:58:18                               Page 21 of 28
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $135.00
          Quail Springs Self Storage                                          Contingent
          13801 Technology Drive                                              Unliquidated
          Oklahoma City, OK 73134                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $312.66
          Quest Diagnostics                                                   Contingent
          P O Box 740709                                                      Unliquidated
          Atlanta, GA 30374-0709                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $133,052.57
          Reed Smith                                                          Contingent
          7900 Tysons One Place                                               Unliquidated
          Ste 500                                                             Disputed
          McLean, VA 22102
                                                                             Basis for the claim:    Legal services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $3,086.93
          RETARUS INC.                                                        Contingent
          201 Route 17 North                                                  Unliquidated
          Suite 603, (6th Floor)                                              Disputed
          Rutherford, NJ 07070
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                    $41.68
          RICOH USA, INC                                                      Contingent
          70 Valley Stream Parkway                                            Unliquidated
          Malvern, PA 19355                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $324.76
          RK Black, Inc                                                       Contingent
          4111 Perimeter Center Place                                         Unliquidated
          Oklahoma City, OK 73112-2308                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $10,800.00
          Robison Gary Johnson & Associates                                   Contingent
          2575 Kelley Pointe Pkwy                                             Unliquidated
          Suite 140                                                           Disputed
          Edmond, OK 73013
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 8 of 11
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                        Entered 07/06/17 16:58:18                               Page 22 of 28
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $39,932.00
          RR Donnelley Receivables, Inc                                       Contingent
          P O Box 932721                                                      Unliquidated
          Cleveland, OH 44193                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $14,448.00
          RT Oliver                                                           Contingent
          101 N Robinson                                                      Unliquidated
          Suite 900                                                           Disputed
          Oklahoma City, OK 73102
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $912.25
          SmithDryden, LLC                                                    Contingent
          2801 Coltrane Place                                                 Unliquidated
          Suite 4                                                             Disputed
          Edmond, OK 73034
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $68,771.49
          Stanton Nelson                                                      Contingent
          1501 Drury Lane                                                     Unliquidated
          Nichols Hills, OK 73116                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Amounts claimed for reimbursement
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $2,086.74
          Staples Advantage                                                   Contingent
          P O Box 83689                                                       Unliquidated
          Chicago, IL 60696-3689                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $59,220.85
          Tatum                                                               Contingent
          P O Box 847872                                                      Unliquidated
          Dallas, TX 75284-7872                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Consulting Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $5,048.00
          The Oklahoman Media Company                                         Contingent
          P O Box 25125                                                       Unliquidated
          Oklahoma City, OK 73125-0125                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 9 of 11
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
           Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                       Entered 07/06/17 16:58:18                               Page 23 of 28
 Debtor       Foundation Healthcare, Inc.                                                             Case number (if known)            17-42571-mxm11
              Name

 3.53      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $9,588.46
           Toshiba Medical Credit                                             Contingent
           P O Box 41602                                                      Unliquidated
           Philadelphia, PA 19101-1602                                        Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $7,512.00
           Tyco Integrated Secutiry, LLC                                      Contingent
           10405 Crosspoint Blvd                                              Unliquidated
           Indianapolis, IN 46256                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $579.93
           Underground Vaults & Storage                                       Contingent
           P O Box 1723                                                       Unliquidated
           Hutchinson, KS 67504-1723                                          Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $41,786.25
           VI Marketing and Branding                                          Contingent
           125 Park Avenue                                                    Unliquidated
           Ste 200                                                            Disputed
           Oklahoma City, OK 73102
                                                                             Basis for the claim:    Trade debt
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.57      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,143.92
           ViaVid Communications Simplified                                   Contingent
           118-998 Harbourside Drive                                          Unliquidated
           North Vancouver, British Columbia V7P 3T                           Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $412,719.46
           Workday, Inc.                                                      Contingent
           6230 Stoneridge Mall Road                                          Unliquidated
           Pleasanton, CA 94588                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                      related creditor (if any) listed?                account number, if
                                                                                                                                                       any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                       Total of claim amounts

Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 10 of 11
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                          Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                      Entered 07/06/17 16:58:18             Page 24 of 28
 Debtor       Foundation Healthcare, Inc.                                                        Case number (if known)   17-42571-mxm11
              Name

 5a. Total claims from Part 1                                                                       5a.       $           1,149,739.16
 5b. Total claims from Part 2                                                                       5b.   +   $           2,661,197.54

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $             3,810,936.70




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                 Page 11 of 11
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
           Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                 Entered 07/06/17 16:58:18                 Page 25 of 28
 Fill in this information to identify the case:

 Debtor name         Foundation Healthcare, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         17-42571-mxm11
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.         State what the contract or                  Contract / Advisor to
              lease is for and the nature of              CEO and Board of
              the debtor's interest                       Directors

                  State the term remaining                Until Terminated
                                                                                      CLG Health Care Matrics, LLC
              List the contract number of any                                         22287 Mulholland Hwy Suite 343
                    government contract                                               Calabasas, CA 91302


 2.2.         State what the contract or                  Contract /
              lease is for and the nature of              Representation in
              the debtor's interest                       general corporate
                                                          matters
                  State the term remaining                Until Terminated
                                                                                      Goodwin Proctor LLP
              List the contract number of any                                         100 Northern Avenue
                    government contract                                               Boston, MA 02210


 2.3.         State what the contract or                  Lease / corporate office
              lease is for and the nature of              space - Suites 130, 200
              the debtor's interest                       and server room

                  State the term remaining
                                                                                      Memorial Hefner Parkway, LLC
              List the contract number of any                                         13900 N. Portland Ave, Suite 100
                    government contract       07/31/2017                              Oklahoma City, OK 73134


 2.4.         State what the contract or                  Contract / Services
              lease is for and the nature of              provided by Grant
              the debtor's interest                       Christiansen

                  State the term remaining                07/31/2017
                                                                                      Meta-Biz, LLC
              List the contract number of any                                         11001 Seven Pines Lane
                    government contract                                               Champlin, MN 55316




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                  Entered 07/06/17 16:58:18               Page 26 of 28
 Debtor 1 Foundation Healthcare, Inc.                                                          Case number (if known)   17-42571-mxm11
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.5.        State what the contract or                   Contract /
             lease is for and the nature of               representation in the
             the debtor's interest                        Mary DuPont matter

                  State the term remaining                Resolution/disposition
                                                          of matter                    Montgomery McCracken
             List the contract number of any                                           123 South Broad Street
                   government contract                                                 Philadelphia, PA 19109


 2.6.        State what the contract or                   Contract /
             lease is for and the nature of               representation in the
             the debtor's interest                        Aetna matter

                  State the term remaining                Resolution/disposition
                                                          of matter                    Montgomery McCracken
             List the contract number of any                                           123 South Broad Street
                   government contract                                                 Philadelphia, PA 19109


 2.7.        State what the contract or                   Contract / Investor
             lease is for and the nature of               Relations Services
             the debtor's interest

                  State the term remaining                11/20/2017
                                                                                       White Oaks Investor Relations, LLC
             List the contract number of any                                           8 Bridge Lane
                   government contract                                                 Minneapolis, MN 55424




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                          Page 2 of 2
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                       Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                Entered 07/06/17 16:58:18              Page 27 of 28
 Fill in this information to identify the case:

 Debtor name         Foundation Healthcare, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         17-42571-mxm11
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.2                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.3                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code


    2.4                                                                                                                        D
                                               Street                                                                           E/F
                                                                                                                               G
                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                      Page 1 of 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                      Best Case Bankruptcy
          Case 17-42571-rfn11 Doc 36 Filed 07/06/17                                         Entered 07/06/17 16:58:18           Page 28 of 28




 Fill in this information to identify the case:

 Debtor name         Foundation Healthcare, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF TEXAS

 Case number (if known)         17-42571-mxm11
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          July 6, 2017                            X /s/ Richard Zahn
                                                                       Signature of individual signing on behalf of debtor

                                                                       Richard Zahn
                                                                       Printed name

                                                                       Chairman
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
